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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF OKLAHOMA

 (1) GEORGE COLLINS and         )
 (2) ALRIKA COLLINS,            )
                                )
             Plaintiffs,        )
                                )
 v.                             )  Case No. 22-cv-00318-JAR
                                )
 (1) STATE FARM FIRE AND        )
 CASUALTY COMPANY,              )
                                )  JURY TRIAL DEMANDED
             Defendant.         )
                                )
          STIPULATION FOR ORDER OF DISMISSAL WITH PREJUDICE

         COMES NOW the Plaintiff, by and through their attorneys of record, S. Alex Yaffe and

Terry M. McKeever, and Defendant’s counsel, John S. Gladd, J. Andrew Brown, and Andrew G.

Wakeman, and would show the Court that this matter has been compromised and settled and,

therefore, moves the Court for an Order of Dismissal With Prejudice.

                                                     Respectfully submitted,

                                                   /s/ Terry M. McKeever
                                                        S. Alex Yaffe
                                                        Terry M. McKeever
                                                        FOSHEE & YAFFE
                                                        P.O. Box 890420
                                                        Oklahoma City, OK 73170
                                                        Attorneys for the Plaintiffs


                                                   /s/ J. Andrew Brown
                                                        John S. Gladd, OBA #12307
                                                        J. Andrew Brown, OBA #22504
                                                        1500 ParkCentre
                                                        525 South Main Street
                                                        Tulsa, OK 74103-4524
                                                        Telephone: (918) 582-8877
                                                        Facsimile: (918) 585-8096
                                                        Attorney for Defendant SFF&CC
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